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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

ROHAN RAMCHANDANI,

                       Plaintiffs,                            No. 1:19-cv-9124 (VM)

       v.

CITIGROUP INC., CITICORP and CITIBANK, N.A.

                       Defendants.


                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendants Citigroup Inc.,

Citicorp (now known as Citicorp LLC) and Citibank, N.A. hereby certify as follows: Citigroup

Inc. is a publicly held corporation that has no parent corporation and no publicly-held

corporation owns 10% or more of Citigroup Inc.’s stock. Citibank, N.A. is a wholly-owned

subsidiary of Citicorp LLC, which is a Delaware limited liability company that is wholly-owned

by its sole member Citigroup Inc.

Dated: New York, New York                  Respectfully submitted,
       October 15, 2019
                                           By: /s/ Marshall H. Fishman

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